                         U.S. COURT OF APPEALS — EIGHTH CIRCUIT
                                    NOA SUPPLEMENT

Please note any additions or deletions to the style of the case from the style listed on the docket
sheet (or attach an amended docket sheet with the final style of case)

CASE NO.                                  CASE TITLE
 1:22-cv-78-CJW-MAR                        Parents Defending Education v. Linn-Mar Community School
                                           District et al
 Length of Trial:      N/A
 Financial Status: Fee paid?             Yes:     ✔     No:

 If NO, has IFP been granted?            Yes:           No:

 Is there a pending motion for IFP?      Yes:           No:       ✔
 Any other pending post-                 Yes:     ✔     No:
 judgment motions?
 Local interest in case?                 Yes:     ✔     No:

 Simultaneous release                    Yes:           No:       ✔
 recommended?


Identify the court reporter: If NO court reporter please check here:

 Court Reporter                       Proceeding                                        Telephone
Shelly Semmler                        Motion Hearing (9/6/2022)                         712-233-3846




Are any parties to this action incarcerated:                  Yes:            No:   ✔
                        If yes, indicate which:               Plaintiff:      Defendant:


List all other defendants in this case if there were multiple defendants
Shannon Bisgard, Brittania Morey, Clark Weaver, Barry Buchholz, Sondra Nelson, Matt Rollinger, Melissa
Walker, and Rachel Wall.




Special Comments:
 Appeal of (doc. 28) Order denying the (doc. 3) Motion for Preliminary Injunction.




                                                              Contact Person:
U.S. District Clerk - Northern District of Iowa
111 7th Avenue SE, Box 12, Cedar Rapids, IA 52401                      Sarah Melvin 319-286-2300

      Case 1:22-cv-00078-CJW-MAR Document 30 Filed 09/13/22 Page 1 of 1
